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                                   UNITED STATES DISTRICT COURT                      utie;~/lemudy
                               FOR THE EASTERN DISTRICT OF KENTUCKY                                       D
                                   CIVIL ACTION NO. 14-CV-0375-KKC
                                                                                             OCT 2 0 2015
                                              HEIDI ERICKSON,                                  AT LEXINGTON
                                                                                              ROBERT R. CARR
                                              P laintifflAppellant,                      CLERK U.S. DISTRICT COURT
                                                        VS.

  COMMONWEALTH OF KENTUCKY, CABINET OF HEAL TH AND FAMILH SERVICES,
  AUDREY HA YNES, SECRETARY; DIVISION of COMMUNITY BASED SERVICES, and
                     TERESA JAMES, COMMISSIONER.
                                     _ _ __ .[MJmdgfJt.s/_Appdlee.s_.
                                                                   . _-


                                    PLAINTIFF'S NOTICE OF APPEAL

 Plaintiff files her APPEAL NOTICE from the Decision issued on 9/25/15 entitled Memorandum,
 Opinion and Order, in its entirety. The Decision is absurd. Appellant points out the apparent
 present state of affairs regarding disputes raised by individuals like this movant who are
 impoverished, as if her claims somehow do not require the analysis demanded of a U.S. Court,
 exampled by this Decision with its inaccurate citations, unsupported conjecture and factually
 without reference to the record as required in KRS 13B 140.

  This Appeal necessary since this Decision reduces the Plaintiff to being unqualified for a "special
  benefit", full of conjectures including an uncited reference on the USDA's intent that the SNAP
. benefit is "were best allocated to aid those [specific] classes of disabled persons [not the type of
  disability Plaintiff suffers]" and "Plaintiffs filing make clear that the perceived basis of the
  wrongs she was subjected to arose from the reduction of her SNAP benefits." This is absurd
  Plaintiffs claim is based on the Cabinets failure follow federal regulatory laws, state regulatory
  laws during its tabulation of her SNAP benefits (Cabinet incorrectly calculated her federal
  benefits) the Hearing Officer agreed, then Cabinet failed to follow the authority the state
  regulatory laws allow KRS13B120(4). The Decision is absurd because it is without the record and
  finds anything about the Plaintiffs specifically details on recertification periods because at all
  material times including today Plaintiff has been a qualified recipient Banks v Block, 700 F.2d 292
  , 297 (6th Cir.1983) inapplicable. SNAP benefits are a known protected property interest. This
  Appeal regarding the decision the Cabinet made about Ms. Erickson's recertification and
  tabulation of SNAP benefits disallowing her "allowable medical deductions from her gross
  income on all medical aids" including her 'Service Dog' 7 USC 273.9(d) 7 USC 273.13, 273.15,
  273.9(d) and Title II Part 35.136, failure to allow program access to my federal benefits is
  discrimination and deprivation of the property interests. 42 USC section 1983 appropriate and the
  Act's lezj.slation makes it clear, by Congress who specifically provided a private right of action, s~
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 This Decision's finding absurd:"The USDA is entitled in respect for its decision that SNAP's
 {sic} limited resources were best allocated to aid those classes of disabled individuals with the
 greatest need for "service animal" support. The promulgated regulations reflect their conclusion
 that the hearing and vision impaired were most in need of such benefits." (pg.5 of 9) no reference
 or citation is provided. David Youngblood, Director of Civil Rights for the USDA Office~:S
 absolutely disagrees to this absurdity. The District Court's analysis is unsubstantiated and cannot
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   compare Ms. Erickson to a decision Banks v Block, 700 F.2d 292, 297 (6th Cir.1983) because at
   all relevant times herein Ms. Erickson was, and remains a qualified recipient of SNAP benefits
   unlike Banks who was unqualified. The facts in this record which the District did not review
   (KRS 13B.140 Complaint), the Record was not docketed and will show by overwhelming evidence
   Ms. Erickson requested a fair during her certification period, the Hearing Officer followed the
   federal regulatory law in 7 USC 273.13, 273.15, 273.9(d) and Title II Part 35.136, whereas the
   Cabinet did not by and through the Commissioner, not the Secretary as KRS 13B requires, issued a
   Final Order over 224 days (late and/or out-of-time) according to KRSBB.120(4) these actions
   fundamentally deprived Ms. Erickson due process, federal benefits and resulted in discrimination
   all actionable under 42 USC section 1983 and Title II of the ADA (42 USC section The decision
   issued on 9/25115 had no recorc:l_,its fi11cliu.g~(ajlas_am~tter.Qf~_w ~dare an abuse~
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1. The Plaintiff respectfully requests this Honorable Court and its Clerk to assemble the file and           P. . .\.,, l • ~v1"'
   transmit it to the 6th Circuit Court of Appeals without delay.                       .        .            ~'k... 1~'-\


   Respectfully submitted, by HEIDI K. ERICKSON,
   bluegrass.heidi@yahoo.com PO BOX #2, BIGHILL, KY 40405, 859-684-2600,,
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   By signature above I, Heidi K. Erickson attest under the pains & penalties of perjury. these Facts
   herein are true. I verify delivery of a true copy of this document by email to Brent Irvin,moving
   party KY Cabinet of Health and Family Services Offices of Legal Services, 275 E. Main Street,
   5W-B Frankfort, KY 40621 and to Jack Conway, Attorney General: Office of the Attorney
   General, 700 Capital Avenue, Suite 118 Frankfort, KY 40601-3449 (Qrent.irvin@ky.gov and
   jack.conway@ky.gov and alternatively jack.conway@oagky.gov) by USPS postage prepaid today
   10/12115

           ( Notary Public of the COMMONWEALTH OF KENTUCKY MArysµC?OUNTY )
   Subscribed an~ sworn to before me by the above-named Heidi K. Erickson this 0 I day of 2015

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   NOTARY(.-QAW
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